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 8                       UNITED STATES DISTRICT COURT
 9
                       SOUTHERN DISTRICT OF CALIFORNIA

10
       WILLIAM PACE, AND
11     ELISABETH PACE,                         Case No.: 15-cv-2289 AJB (BLMx)
12                  Plaintiff,                 ORDER GRANTING JOINT
                                               MOTION FOR DISMISSAL
13                          v.
                                               (Doc. No. 27)
14     SAN DIEGO COUNTY CREDIT
15     UNION; AND, TRANSUNION,
       LLC,
16

17
                    Defendants.

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19          Based upon the Parties’ Joint Motion, this Court hereby orders this Action to

20    be, and is, dismissed with prejudice. Each party to bear their own attorneys’ fees

21    and costs.

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23    IT IS SO ORDERED.

24    Dated: April 13, 2016
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                                                                           15CV2289
